
38 So.3d 331 (2010)
Nancy MARSHALL, Assessor for the Sixth Municipal District for the Parish of Orleans
v.
Benjamin H. MAYNARD, Warren P. Valentino, Query Lance, Rutledge C. Clement, Jr., Douglas Brent Wood, Sherry B. Haydel, Amelia L. Flynn, Peter S. Michell, Aaron L. Jarabica, Frank A. Mumphrey, III, Bryan W. Fitzpatrick, Glenda D. Lavis, Paul S. Rosenblum, Dominic J. Gianna, Susan *332 D. Krohn, Gothard J. Reck, Frederick O. Martty, Katherine F. Salvant, Kathryn A. Sturm, Jairo I. Santanilla, Patrick A. Talley, Jr., A.R. Fransen, Jr., John H. Lewis, William M. Pinsky, et al.
No. 2010-C-0910.
Supreme Court of Louisiana.
June 18, 2010.
Denied.
